                Case 15-12075-BLS              Doc 271-4        Filed 11/25/15           Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               Chapter 11
In re:

Taylor-Wharton International LLC, et al.,1                     Case No. 15-12075 (BLS)
                                                               Jointly Administered
                      Debtors.
                                                              Hearing Date: Only if an objection is filed
                                                              Obj. Deadline: Dec. 15, 2015 @ 4:00 p.m. (ET)


    NOTICE OF FIRST MONTHLY FEE APPLICATION OF EISNERAMPER LLP AS
      FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL
          SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
        FOR THE PERIOD OCTOBER 16, 2015 THROUGH OCTOBER 31, 2015

TO:      The Debtors, counsel to the Debtors and Debtors in Possession, the Office of the United
         States Trustee, counsel to the Administrative Agent, counsel to the First Lien Credit
         Facility Lenders and all parties requesting notice pursuant to Fed. R. Bankr. P. 2002.

        PLEASE TAKE NOTICE that on November 25, 2015, EisnerAmper LLP, by and through
the undersigned counsel for the Official Committee of Unsecured Creditors, filed the First
Monthly Fee Application of EisnerAmper LLP as Financial Advisor to the Official Committee of
Unsecured Creditors for Allowance of Compensation for Services Rendered and Expenses Incurred
for the Period October 16, 2015 through October 31, 2015 (the “Application”) seeking fees in the
amount of $55,469.50 (of which EisnerAmper seeks payment of 80% or $44,375.60) and
reimbursement of expenses in the amount of $253.55 for the period October 16, 2015 through
October 31, 2015. The Application was filed with the United States Bankruptcy Court for the
District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the
“Bankruptcy Court”).

        The Application is submitted pursuant to the Order Pursuant to 11 U.S.C. §§ 105(a) and
331 Establishing Procedures for Interim Compensation and Reimbursement of Expenses of
Professionals, entered on November 6, 2015 [D.I. 180] (the “Interim Compensation Order”).

       You are required to file a response to the Application on or before December 15, 2015 at
4:00 p.m. (Eastern) (the “Objection Deadline”) with the Clerk of the United States Bankruptcy
Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801.

       At the same time, you must also serve a copy of the response so as to be received by that
time by: (i) Taylor-Wharton International LLC, et al., c/o Thomas Doherty, CRO, 5600 Rowland
1
  The Debtors and the last four digits of their respective U.S. federal taxpayer identification numbers are as follows:
Taylor-Wharton International LLC (1577) and Taylor-Wharton Cryogenics LLC (1713). The headquarters for the
above-captioned Debtors is located at 5600 Rowland Rd., Minnetonka, MN 55343.
             Case 15-12075-BLS        Doc 271-4      Filed 11/25/15     Page 2 of 2



Road Minnetonka MN 55343, (ii) counsel to Debtors, J. Cory Falgowski, Esq., Reed Smith LLP,
1201 N. Market, Suite 1500, Wilmington, DE 19801 and Derek J. Baker, Esq., Reed Smith LLP,
1717 Arch Street, Suite 3100, Philadelphia, PA 19103; (iii) counsel for the post-petition lenders,
Richard Levy, Esq. and Matthew Warren, Esq., Latham & Watkins LLP, 330 North Wabash
Ave., Suite 2800, Chicago IL 60611; (iv) counsel to the Official Committee of Unsecured
Creditors (the “Committee”), Mary E. Seymour, Esq., Lowenstein Sandler LLP, 65 Livingston A
venue, Roseland, NJ 07068; and (v) Benjamin A. Hackman, Esq., Office of the United States
Trustee, 844 North King Street, Room 2207, Lockbox 35, Wilmington, DE 19801.

     IF NO OBJECTIONS ARE FILED AND SERVED IN ACCORDANCE WITH
THE ABOVE PROCEDURES, THEN 80% OF THE FEES AND 100% OF THE
EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID PURSUANT TO
THE INTERIM COMPENSATION ORDER WITHOUT FURTHER HEARING OR
ORDER OF THE COURT. IF A TIMELY OBJECTION IS FILED AND SERVED,
THEN PAYMENT WILL BE MADE ACCORDING TO THE PROCEDURES SET
FORTH IN THE INTERIM COMPENSATION ORDER.

 Dated: November 25, 2015                     Respectfully submitted,
 Wilmington, Delaware
                                              THE ROSNER LAW GROUP LLC

                                      By:     /s/ Julia B. Klein
                                              Frederick B. Rosner, Esq. (DE 3995)
                                              Julia B. Klein, Esq. (DE 5198)
                                              824 Market Street, Suite 810
                                              Wilmington, DE 19801
                                              (302) 777-1111
                                              rosner@teamrosner.com
                                              klein@teamrosner.com

                                              Proposed Delaware to the Official Committee
                                              of Unsecured Creditors
